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 13
                               UNITED STATES DISTRICT COURT
 14
                           CENTRAL DISTRICT OF CALIFORNIA
 15
                                      WESTERN DIVISION
 16

 17

 18   JENNY LISETTE FLORES, et al.,          No. CV 85-4544-DMG-AGRx

 19         Plaintiffs,                      OPPOSITION TO EX PARTE APPLICATION
                                             TO STAY ORDER, ECF NO. 976
 20   v.
 21                                          Hearing Date: None
      WILLIAM BARR, Attorney General of
                                             Time: N/A
 22   the United States, et al.,
                                             Hon. Dolly M. Gee
 23

 24         Defendants.

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  1
         I.      INTRODUCTION
  2
              The Court should not stay its order enforcing the Setttlement on behalf of
  3
      class members DHS purports to detain pursuant to Title 42 unless Defendants
  4
      carry their burden of establishing the following: (1) they are strongly likely to
  5
      succeed on the merits of their appeal; (2) they will be irreparably injured absent a
  6
      stay; (3) hoteled children will not be substantially injured should a stay issue; and
  7
      (4) a stay is the public interest. See East Bay Sanctuary Covenant v. Trump, 932
  8
      F.3d 742, 769-70 (9th Cir. 2018). Defendants fail on all counts.
  9
              To begin, Defendants’ instant application does little more than repeat the
 10
      legal arguments this Court considered and rejected in granting enforcement of the
 11
      Settlement on behalf of hoteled children. While Defendants obviously disagree
 12
      with the Court’s legal analysis, they fail to identify any principle of law that has
 13
      changed or that the Court failed to consider in issuing its enforcement order. Cf.
 14
      C.D. Cal. R. 7-18 (providing for reconsideration based on “the emergence of new
 15
      material facts or a change of law occurring after the time of such decision” or “a
 16
      manifest showing of a failure to consider material facts presented to the Court
 17
      before such decision”).
 18
              Yet even assuming, arguendo, that Defendants were likely to prevail on
 19
      appeal, their instant application would founder with respect to the remaining three
 20
      requirements for a stay. In an attempt to show they would be irreparably injured
 21
      absent a stay, Defendants offer an improbable amalgam of factual propositions.
 22
      On the one hand, they assert that “the ORR system would likely come under
 23
      significant stress if ORR were to begin to receive on a regular basis approximately
 24
      75 to 100 referrals of UAC per week.” Supplemental Declaration of Jallyn Sualog,
 25
      September 17, 2020, ¶ 9 [Doc. # 985-1 at 118] (“Sept. 17 Sualog Decl.”). On the
 26
      other, they report that between September 11 and September 13, DHS chose to
 27
      “except” 155 children from Title 42 detention and “referred them to HHS.”
 28
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  1
      Declaration of A. Porvaznik, September 17, 2020, ¶ 5 [Doc. # 985-1 at 12-13]
  2
      (“Porvaznik Decl.”). Defendants ask the Court to conclude that complying with
  3
      the enforcement order would therefore overwhelm ORR’s ability to absorb
  4
      children into its network of licensed placements while keeping them and the
  5
      general public safe from COVID-19. Defendants’ factual argument is flawed for
  6
      several reasons.
  7
            First, Defendants nowhere disclose, much less explain, the criteria DHS
  8
      uses to select children for transfer to ORR. The Settlement, of course, posits a
  9
      clear, legal standard predicated on the time a child spends in federal custody and
 10
      the requirement that a child be transferred to a licensed placement. Defendants’
 11
      stay application boils down to a demand that DHS have unfettered license to
 12
      decide which children it wishes to transfer to ORR, according to undisclosed
 13
      criteria of its own choosing. DHS’s decision to flout the Settlement’s express and
 14
      binding criteria is all the more unlawful given that Congress embraced it both in
 15
      the TVPRA’s savings clause and in requiring that all federal agencies transfer
 16
      UACs to HHS within 72 hours for prompt placement in the least restrictive setting
 17
      consistent with their best interests. 8 U.S.C. §§ 1232(b)(3), (c)(2)(A).
 18
            Second, Defendants’ prognostication of an overwhelmed ORR, struggling
 19
      to find safe, licensed placements lacks any credibility when reviewed in the
 20
      context of Defendants’ subsequent actions and this Court’s actual order. The
 21
      provision of the Court’s order requiring that DHS cease placing minors in hotels
 22
      was administratively stayed before it went into effect. Defendants themselves
 23
      have therefore elected to send ORR children weekly, despite the “significant
 24
      stress” it would purportedly experience if ORR received as few as 75-100 such
 25
      children per week. As far as can be determined from Defendants’ factual
 26
      showing, meanwhile, ORR’s sky has yet to fall.
 27
            More importantly, nothing in this Court’s order requires Defendants to send
 28
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  1
      more children to ORR or ICE facilities than they can safely accommodate.
  2
      Rather, the order plainly states that, “If other exigent circumstances arise that
  3
      necessitate future hotel placements, Defendants shall immediately alert Plaintiffs
  4
      and the Independent Monitor, providing good cause for why such unlicensed
  5
      placements are necessary.” Order re Plaintiffs’ Motion to Enforce Settlement as
  6
      to “Title 42” Class Members at 17 ¶ 2 [Doc. # 976] (“Sept. 4 Order”). In short,
  7
      the Court’s order allows Defendants ample latitude to deny children licensed
  8
      placement if they have good cause to do so, but that is not the same as granting
  9
      them carte blanche to disregard the Settlement whenever they wish.
 10
               Defendants have accordingly failed to establish either that they will be
 11
      irreparably injured absent a stay or that detaining children in hotels, rather than
 12
      licensed facilities, would prevent or slow the spread of COVID-19. Defendants
 13
      have likewise failed to establish a likelihood of succeeding on the merits of their
 14
      appeal. Nor have Defendants rebutted the Independent Monitor’s and Plaintiffs’
 15
      evidence that children will suffer substantial and concrete harm if they are denied
 16
      the Settlement’s protections pending appeal. And they certainly have not
 17
      demonstrated that the perpetuation of their haphazard, opaque, and dangerous
 18
      practices would be in the public interest. A stay should be denied.
 19
         II.      LEGAL STANDARD
 20
               “A stay is an intrusion into the ordinary processes of administration and
 21
      judicial review, and accordingly is not a matter of right, even if irreparable injury
 22
      might otherwise result to the appellant.” Nken v. Holder, 556 U.S. 418, 427
 23
      (2009) (internal citations and quotation marks omitted). The Court’s “analysis is
 24
      guided by four factors: ‘(1) whether the stay applicant has made a strong showing
 25
      that he is likely to succeed on the merits; (2) whether the applicant will be
 26
      irreparably injured absent a stay; (3) whether issuance of the stay will
 27
      substantially injure the other parties interested in the proceeding; and (4) where
 28
                                                  3
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      the public interest lies.’” East Bay Sanctuary Covenant v. Trump, 932 F.3d 742,
  2
      769-70 (9th Cir. 2018) (quoting Nken, 556 U.S. at 433-34). “‘The first two factors
  3
      . . . are the most critical,’ and the ‘mere possibility’ of success or irreparable
  4
      injury is insufficient to satisfy them.” Id. at 770 (quoting Nken, 556 U.S. at 434);
  5
      see also Doe # 1 v. Trump, 957 F.3d 1050, 1058 (9th Cir. 2020) (“We consider the
  6
      last two factors if the first two factors are satisfied.”).
  7
             As the party seeking the stay, Defendants bear the “burden of showing that
  8
      the circumstances justify an exercise of [the Court’s] discretion” to grant a stay.
  9
      Nken, 556 U.S. at 434. Defendants’ burden to show irreparable harm cannot be
 10
      satisfied with “conclusory factual assertions and speculative arguments that are
 11
      unsupported in the record.” Doe # 1, 957 F.3d at 1059-60. As discussed below,
 12
      Defendants clearly fail to meet this burden.
 13
         III.   DEFENDANTS FAIL TO DEMONSTRATE IRREPARABLE INJURY ABSENT A
 14             STAY.

 15          Defendants do not meet their burden of demonstrating that “irreparable injury
 16   is likely to occur during the period before the appeal is decided.” Doe # 1, 957 F.3d
 17   at 1059; see also Nken, 556 U.S. at 434 (“[S]imply showing some possibility of
 18   irreparable injury fails to satisfy the second factor.”). This failure is fatal to the
 19   application for a stay.
 20          First, Defendants mischaracterize the Court’s order. Defendants are not
 21   required to transfer all children held pursuant to Title 42 to congregate care—the
 22   order clearly requires transfer to licensed facilities and makes exceptions for short
 23   hotel stays. Sept. 4 Order at 17-18. Further, the order specifically contemplates
 24   that “exigent circumstances [may] arise that necessitate future hotel placements.”
 25   Id. at 17. In that event, Defendants are to “immediately alert Plaintiffs and the
 26   Independent Monitor, providing good cause for why such unlicensed placements
 27   are necessary.” Id. Defendants, notwithstanding their claims of irreparable harm,
 28   have made no effort to avail themselves of this provision. Defendants have instead
                                                   4
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  1   chosen to “except” at least 155 children from Title 42 detention between September
  2   11 and September 13, whom DHS thereafter “referred . . . to HHS.” Porvaznik
  3   Decl. ¶ 5. Defendants have not explained their criteria for excepting children or
  4   provided any reason why children who spend over three days in custody cannot be
  5   prioritized for licensed placement, as required by both the Settlement and the
  6   TVPRA.
  7         Additionally, the Court’s order does not require or permit that children be
  8   held in CBP facilities instead of hotels. Cf. Declaration of Raul L. Ortiz, September
  9   11, 2020, ¶¶ 8-10 [Doc. # 985-1 at 2] (“Ortiz Decl.”) (stating that “increased
 10   numbers of minors are likely to spend longer time in USBP facilities”). Neither
 11   hotels nor CBP facilities are licensed placements, and children must be transferred
 12   out of both as expeditiously as possible.
 13         Defendants are also free to place unaccompanied children in licensed foster
 14   care placements, of which they have many and which are not congregate care. See
 15   Sept. 17 Sualog Decl. ¶ 14 [Doc. # 985-1 at 119] (ORR has “approximately 1900
 16
      TFC beds as of September 16, 2020”); ORR Juvenile Coordinator Report, August
 17   24, 2020, at 2 [Doc. # 932-2] (“Aug. JuvCo Report”) (noting ORR’s transitional
 18
      foster care beds are 95% vacant, with 1,903 transitional foster care beds available).
 19
      ORR’s assertions regarding which referrals “could prove too risky for foster parents
 20
      to accept” indicate that ORR has not in fact attempted to secure such placements for
 21
      children designated under Title 42. See Sept. 17 Sualog Decl. ¶ 16-17 [Doc. # 985-
 22
      1 at 120] (emphasis added).1 Further, even if ORR has experienced “a drop in
 23

 24   1
        The assertion that such beds are “reserved” for “children under the age of 12,
 25   pregnant and parenting teens, children with disabilities and/or sibling groups” is
      inconsistent with the ORR Policy Guide, which merely states that “ORR gives
 26
      priority” to these groups. Compare Sept. 17 Sualog Decl. ¶ 14 [Doc. # 985-1 at
 27   119], with ORR Policy Guide § 1.2.2, available at
      https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
 28
      unaccompanied-section-1#1.2.2. Even assuming that foster care beds are primarily
                                                  5
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  1   available foster families,” id. ¶ 17, its transitional foster care program remains
  2   mostly empty, Aug. JuvCo Report at 2.
  3         Second, Defendants improperly rely on the speculative harm of transferring
  4   children to licensed facilities. See Doe # 1, 957 F.3d at 1059-60 (“conclusory
  5   factual assertions and speculative arguments” insufficient to warrant stay).
  6   Defendants’ speculative harm relies on a false premise: i.e., that the Court’s order
  7   requires them to place all children designated for Title 42 expulsion in congregate
  8   care facilities. See Defs’ Ex Parte Application to Stay at 8 [Doc. # 976] (“App. to
  9   Stay”) (wrongly stating “the Court’s Order now requires that all minors and
 10   families who would have been held in individual rooms in a hotel . . . must now
 11   instead be placed into congregate settings with ICE or ORR.” (emphasis added));
 12   Declaration of Russell Hott, Sept. 10, 2020, ¶ 7 (“Hott Decl.”) (wrongly assuming
 13   “all family units subject to Title 42 must be housed at FRCs . . .” (emphasis
 14   added)); Declaration of Raul L. Ortiz, Sept. 11, 2020 (“Ortiz Decl.”) ¶ 7 (wrongly
 15   assuming “that the court’s order prohibits ICE from holding any minor processed
 16
      under the CDC Order in hotels pending their return” (emphasis added)).
 17         Defendants next argue that implementing the Court’s order risks “unchecked
 18
      introduction of COVID-19 into the United States.” Defs.’ Ex Parte Application to
 19
      Stay (“App. to Stay”) at 6. But they have again “failed to demonstrate how hotels,
 20
      which are otherwise open to the public and have unlicensed staff coming in and out,
 21
      located in areas with high incidence of COVID-19, are any better for protecting
 22

 23

 24

 25   for younger children, ORR has not explained why such placements are not being
      utilized for this population. Cf. Sept. 17 Sualog Decl. ¶ 9 [Doc. # 985-1 at 118]
 26
      (asserting that “factors outside of ORR’s control—such as a material shift in the
 27   demographics of UAC towards younger children, which would limit the number of
      licensed facilities capable of caring for such children—would likely worsen the
 28
      situation”).
                                                 6
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  1   public health than licensed facilities would be.”2 Sept. 4 Order at 10; see also id. at
  2   12, 15; Interim Report of Independent Monitor and Dr. Paul Wise, August 26,
  3   2020, at 16-17 [Doc. # 938] (“Aug. Interim Report”) at 16-17 (Independent Monitor
  4   reports DHS lacks formal protocols for managing COVID-19 at hotels); Interim
  5   Report of Independent Monitor, July 22, 2020, at 9, 12, 18 [Doc. # 873] (“July
  6   Interim Report”) at 9, 12, 18 (MVM staff work in three rotating shifts, assist
  7   children with bathing, nutrition, and play; hotel staff clean children’s rooms once
  8   per day); Declaration of Mellissa Harper, August 21, 2020, ¶ 19 [Doc. # 925-1]
  9   (“Aug. 21 Harper Decl.”) (MVM staff work in shifts).
 10         Despite Defendants’ emphasis on the judgments of public health officials, the
 11   Order Suspending Introduction of Certain Persons from Countries where a
 12   Communicable Disease Exists (“Closure Order”) does not address ORR or
 13   Immigration and Customs Enforcement (“ICE”) facilities. See Amendment and
 14   Extension of Order Suspending Introduction of Certain Persons from Countries
 15   where a Communicable Disease Exists, 85 Fed. Reg. 31,503, 31,507 (May 26,
 16
      2020). Nor does the Closure Order address the safety of hotel detention. Id. The
 17   factual findings in the Closure Order are specific to concerns regarding
 18
      implementation of screening, isolation, and social distancing practices at Customs
 19
      and Border Protection (“CBP”) holding facilities. Id.3 Notably, none of
 20
 21

 22   2
        Moreover, Defendants have failed to explain how placement in CBP congregate
 23   care prior to placement in hotels is somehow safer than transfers from CBP to
      licensed facilities. In July, there were 41 children who spent three or more days in
 24
      CBP custody prior to their transfer to ICE Custody. See Declaration of Melissa
 25   Adamson, “Ex. 1 Title 42 Data Summary,” Aug. 28, 2020, at 19-20 [Doc. # 960-1
      at 27-28] (“Adamson Decl. Data Summary”).
 26   3
        The CDC extended the Closure Order to coastal Ports of Entry (POE) and Border
 27   Patrol stations only after finding that such facilities are “substantially similar in all
      respects relevant to the public health analysis” to land-based stations. 85 Fed. Reg.
 28
      at 31,507.
                                                  7
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  1   Defendants’ declarants in support of its application are public health officials or are
  2   from the CDC.
  3         Defendants have repeatedly asserted that ORR could safely detain children in
  4   congregate facilities during the pandemic when it was operating at 30% capacity.4
  5   See, e.g., Declaration of Jallyn Sualog, March 27, 2020, ¶¶ 15-31 [Doc. # 736-1]
  6   (“March 27 Sualog Decl.”). As of August 22, 2020, ORR’s congregate shelters
  7   were 97% empty. See Aug. JuvCo Report at 2. As of September 8, 2020, there
  8   were only 515 children in ORR congregate settings and 139 children in transitional
  9   foster care. Declaration of Jallyn Sualog, Sept. 11, 2020, ¶ 42 [Doc. # 985-1 at 138]
 10   (“Sept. 11 Sualog Decl.”).
 11         Defendants have also represented that ORR has the ability to test and
 12   quarantine children, even when detaining far more children in congregate settings
 13   than it is detaining now. See March 27 Sualog Decl. ¶¶ 13-31, 42 (ORR had 3,600
 14   minors in care, or 28% occupancy, is highly “experience[d] with the identification,
 15   mitigation, and treatment of contagious diseases,” and has implemented “rigorous”
 16
      COVID-19 protocols in shelters); id. ¶ 13 (ORR “ha[d] additional capacity and
 17   more opportunity to ensure social distancing and isolation within the care provider
 18
      network.”); Declaration of Dr. Amanda Cohn, March 27, 2020, ¶¶ 23, 26 [Doc. #
 19
      736-11] (“Cohn Decl.”) (“ORR ha[d] adequate space within its facilities to isolate
 20
 21
      4
        Defendants criticize Plaintiffs for opposing extended hotel placement given
 22
      Plaintiffs discouraging the use of congregate care placements during the COVID-19
 23   pandemic. See App. to Stay at 7. Plaintiffs’ positions are consistent. Plaintiffs
      remain concerned about potential risks of congregate care placement and the
 24
      psychological harm of isolation during the pandemic, which is why Plaintiffs
 25   encourage Defendants to utilize the non-congregate placement options available.
      See Plfs’ Reply to Defs’ Opp. to Ex Parte Temp. Restraining Order and Order to
 26
      Show Cause re Preliminary Injunction at 27, 28 [Doc. # 759]. However, unlicensed
 27   and unmonitored placement which Defendants have not demonstrated is
      measurably safer than congregate care placement is not a solution and moreover
 28
      violates class members’ right to licensed placement under the Settlement.
                                                 8
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  1   any UAC suspected of or confirmed to be infected with COVID-19, given that the
  2   ORR network of grantee care-provider facilities is currently operating at
  3   approximately 30% capacity . . . UAC[s] in ORR care are not at any significantly
  4   increased risk from COVID-19.”). The Court’s finding that ORR appeared in
  5   substantial compliance with CDC guidelines in part because it was operating
  6   significantly below maximum capacity was similarly issued at a time when ORR
  7   was at approximately 30% capacity. See Order re Plaintiffs’ Ex Parte Application
  8   for Restraining Order and Order to Show Cause re Preliminary Injunction [733],
  9   March 28, 2020, at 7 [Doc. # 740] (citing March 27 Sualog Decl.).
 10         ORR now claims that its representations regarding the safety of congregate
 11   care made in March 2020 were made, “before all of ORR’s current COVID-19
 12   protocols were in place, and thus did not account for the capacity that ORR must
 13   hold in reserve in order to properly stage incoming UAC.” Sept. 17 Sualog Decl.
 14   ¶ 7 [Doc. # 985-1 at 118]. However, ORR offers no information as to what overall
 15   capacity it can safely withstand while still implementing “current COVID-19
 16
      protocols” and therefore the alleged harm is speculative, at best. Id. at ¶ 8 (“This
 17   process … has the potential to create a bottleneck if a sufficient number of
 18
      incoming UAC need to be placed in quarantine/isolation.”) (emphasis added).
 19
            Accordingly, Defendants’ claim that “ORR is already at its functional intake
 20
      capacity,” Sept. 11 Sualog Decl ¶ 44, strains credulity. Of the 577 unaccompanied
 21
      children Defendants report having detained in hotels from mid-April to July, it held
 22
      436 children for three or more days. See Adamson Decl. Data Summary at 6 [Doc.
 23
      # 960-1 at 14]. This is a number that ORR could easily accommodate over four
 24
      months. With 13,373 shelter and foster home beds, ORR could accommodate some
 25
      4,000 children before exceeding the 30% occupancy rate it has repeatedly
 26
      represented as safe. And as of September 8, there were 1,097 children in ORR
 27
      custody. Sept. 11 Sualog Decl. ¶ 42; see also Aug. JuvCo Report at 2 (as of August
 28
      22, ORR had a total of 10,735 shelter beds, 2,004 transitional foster care beds, and
                                                 9
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  1   634 long-term foster care beds). If an actual bottleneck occurs and ORR is unable
  2   to safely admit additional children, Defendants can inform Plaintiffs and the
  3   Independent Monitor as provided in paragraph 2 of the Court’s order and seek any
  4   necessary relief. Sept. 4 Order at 17.
  5         Given the vast number of vacant licensed beds at Defendants’ disposal, their
  6   prior assurances that housing children in dramatically depopulated facilities is safe
  7   notwithstanding the pandemic, and the provisions the Court has already made for
  8   “exigent circumstances,” Defendants’ instant claims of “irreparable harm” fall
  9   short. As the Court found, “[a]ll 197 unaccompanied minors hotelled in July could
 10   have been sent to ORR without making a dent in the facilities’ capacity—making
 11   Defendants’ claim that hoteling is necessary to alleviate an emergency ring
 12   especially hollow.” Sept. 4 Order at 13.
 13         Finally, DHS is itself transferring children, ostensibly detained under Title
 14   42, to ORR and ICE residential facilities, including some who test positive for
 15   COVID-19. Sept. 4 Order at 11; July Interim Report at 17; Porvaznik Decl. ¶ 5.
 16
      DHS officials, not public health officials, make these determinations. Sept. 4 Order
 17   at 6-7. Given these uncontroverted facts, Defendants have wholly failed to
 18
      demonstrate that it would be irreparably injured absent a stay. East Bay Sanctuary
 19
      Covenant, 932 F.3d at 778 (noting “evidence in the record suggesting that the
 20
      Government itself is undermining its own goal of channeling asylum-seekers to
 21
      lawful entry by turning them away upon their arrival at our ports of entry”).
 22
         IV.   DEFENDANTS FAIL TO DEMONSTRATE LIKELIHOOD OF SUCCESS ON THE
 23            MERITS.

 24         “The Settlement is a consent decree, which, ‘like a contract, must be
 25   discerned within its four corners, extrinsic evidence being relevant only to resolve
 26   ambiguity in the decree.’” Flores v. Lynch, 828 F.3d 898, 905 (9th Cir. 2016)
 27   (quoting United States v. Asarco Inc., 430 F.3d 972, 980 (9th Cir. 2005)); see also
 28   Nehmer v. U.S. Dep’t of Veterans Affairs, 494 F.3d 846, 861 (9th Cir. 2007) (“[I]f
                                                 10
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  1   the plain language of a consent decree is clear, we need not evaluate any extrinsic
  2   evidence to ascertain the true intent of the parties.”). Defendants’ detaining
  3   children in hotels for extended periods in lieu of licensed placement is a clear-cut
  4   violation of the Settlement. Defendants’ legal arguments to the contrary have
  5   already been considered and rejected by this Court in granting enforcement of the
  6   Settlement on behalf of hoteled children.
  7         A. The Settlement protects children designated for expulsion under Title
  8            42 because they are in DHS’s legal custody and wholly under DHS
               control.
  9
            The Settlement covers “all minors who are detained in the legal custody of
 10
      the INS.” Flores v. Lynch, 828 F.3d 898, 902 (9th Cir. 2016) (quoting Settlement
 11
      ¶ 10). The Ninth Circuit has made clear that the plain language of the Settlement
 12
      protects all minors in the legal custody of the successors of the Immigration and
 13
      Naturalization Service (“INS”). Id. at 905-06, 910.
 14
            “DHS unquestionably has legal custody of the minors within the meaning of
 15
      the Flores Agreement.” Sept. 4 Order at 11 n.8. The Settlement uses “legal
 16
      custody” as that term is used in family law: that is, as referring to the entity with
 17
      decision-making authority over a child’s life. See Sept. 4 Order at 6 (citing Black’s
 18
      Law Dictionary (11th ed. 2019); Cal. Fam. Code §§ 3003, 3006). This is consistent
 19
      with how the term is used throughout the Settlement. See Sept. 4 Order at 5-6
 20
      (citing Settlement ¶¶ 14-16, 19).5
 21

 22

 23

 24
      5
 25    Defendants also acknowledged that when the parties entered into the Settlement
      the “distinction between legal custody and physical custody was clearly understood
 26
      in California,” with “legal custody” referring to “the power to make major decisions
 27   affecting the life of the child.” Defs’ Response to Pls’ Report on Parties’
      Conference re “Title 42” Class Members, at 5-6 n.2 [Doc. # 900] (citing In re
 28
      Jennifer R., 17 Cal. Rptr. 2d 759, 763 (Ct. App. 1993)).
                                                  11
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  1         Defendants do not contest the Court’s finding that DHS exercises plenary
  2   decision-making power over children it purports to detain under Title 42, including
  3   control over their apprehension, detention, medical care, release, and even the
  4   choice whether to expel children under Title 42 or process them under Title 8. See
  5   Sept. 4 Order at 6-8; see also Aug. 21 Harper Decl. ¶¶ 1-2, 11, 13-20; Hott Decl. ¶
  6   12. This is precisely the decision-making authority the INS exercised under the
  7   Settlement. See Settlement ¶¶ 19-20. The CDC, by contrast, plays no discernable
  8   role in DHS’s control over children nominally detained under Title 42. See Sept. 4
  9   Order at 6-8.6
 10         Defendants again fail to offer any citation for their assertion that the term
 11   “legal custody” refers to the source of the former INS’s legal authority. App. to
 12   Stay at 11-12. Defendants’ argument is not improved by repetition. The
 13   Settlement nowhere limits its coverage to children taken into custody under Title 8.
 14   See Sept. 4 Order at 8-9. Congress has provided that the Settlement remain binding
 15   even as it has itself enlarged the legal framework governing Defendants’ detention
 16
      of non-citizen children. See Flores v. Sessions, 862 F.3d 863, 870-871, 879 (9th
 17   Cir. 2017) (holding that the Homeland Security Act (“HSA”) and the TVPRA
 18
      preserved the Settlement).
 19

 20
 21

 22

 23

 24   6
       Even if children were in the Department of Health and Human Services’s (“HHS”)
 25   legal custody through the CDC, unaccompanied non-citizen children would still be
      class members because the TVPRA transferred responsibility for the care and
 26
      custody of unaccompanied children to HHS and HHS is bound by the Settlement.
 27   See Flores v. Barr, 934 F.3d 910, 912 n.2 (9th Cir. 2019); 8 U.S.C. §§ 1232(b)(1),
      (c)(2)(A), (c)(3); Pls.’ Memorandum in Support of Motion to Enforce at 6-8 [Doc. #
 28
      920-1].
                                                12
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  1         Even were the statutory authority for detention relevant, the Closure Order
  2   covers only non-citizens whom DHS would otherwise detain under Title 8. See 85
  3   Fed. Reg. at 31,507 (defining “covered alien” to include “[p]ersons . . . who would
  4   otherwise be introduced into a congregate setting in a land or coastal Port of Entry
  5   (POE) or Border Patrol station” and excluding, among others, U.S. citizens, green
  6   card holders, and individuals with valid travel documents); see also Sept. 4 Order at
  7   9 (describing role of CBP and ICE in detention of minors under Closure Order).
  8   The Order nowhere intimates that the CDC will assume legal custody of anyone.7
  9         B. Defendants could simultaneously comply with the Settlement, the
 10            TVPRA’s placement provisions, and Title 42.
 11         Defendants’ application is premised on the same flawed assumption asserted

 12   previously that providing children appropriate placement and carrying out the

 13   Closure Order are zero-sum propositions. Despite multiple opportunities to do so,

 14   Defendants have failed to show how a licensed placement “introduces” a child into

 15   the United States under 42 U.S.C. § 265 any more than detaining them in a hotel

 16   open to the general public does. Sept. 4 Order at 10, 12.

 17         Nor is there any conflict between providing children licensed placement and

 18   the Closure Order, which is concerned with CBP facilities and mentions neither
 19   ORR nor ICE residential facilities. See 85 Fed. Reg. at 31,507. By all indications
 20   from the CDC, ORR is far better able to screen and isolate children exposed to
 21   COVID-19 than CBP. Compare Cohn Decl. ¶¶ 8, 20, 23, 26-27, with 85 Fed. Reg.
 22   at 31,507. That Defendants summarily expel children before they have time to
 23   comply with the Settlement’s release provisions does not mean that children are not
 24
      7
        Notably, neither 42 U.S.C. § 265 nor its implementing regulation, 42 C.F.R.
 25   § 71.40, includes any reference to “detention” or “custody.” That the parties did
 26   not specifically anticipate Defendants’ novel interpretation of 42 U.S.C. § 265 to
      justify the detention of non-citizen children pending expulsion does not mean that
 27   class members lack protection under the Settlement. See Flores v. Lynch, 828 F.3d
 28   at 906.
                                               13
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  1   class members. See Flores v. Johnson, 212 F. Supp. 3d 864, 884-85 (C.D. Cal.
  2   2015) (rejecting argument that TVPRA conflicts with the Agreement because CBP
  3   cannot release children to sponsors).
  4         The DHS “hoteling” practice, by contrast, plainly conflicts with the TVPRA,
  5   which both (1) preserves the Settlement; and (2) directs all federal agencies to
  6   transfer the custody of unaccompanied minors to “the Secretary of Health and
  7   Human Services not later than 72 hours . . . ,” who must then “promptly” place
  8   them “in the least restrictive setting that is in the best interest of the child.” 8
  9   U.S.C. §§ 1232(b)(3), (c)(2)(A); see also Flores v. Sessions, 862 F.3d at 871
 10   (TVPRA preserved and “partially codified the Settlement by creating statutory
 11   standards for the treatment of unaccompanied minors” (quoting Flores v. Lynch,
 12   828 F.3d at 904)). Defendants have not disputed that unaccompanied children
 13   designated under Title 42 meet the statutory definition of an “unaccompanied alien
 14   child.” See 6 U.S.C. § 279(g)(2).
 15         Defendants also fail to address the Court’s holding that detention in hotels
 16
      conflicts with the TVPRA. See Sept. 4 Order at 10. “The Court need not force a
 17   construction that would render the Agreement and the TVPRA incompatible with
 18
      Title 42 when a perfectly reasonable interpretation that harmonizes them is
 19
      available.” Id. at 10 (citing Morton v. Mancari, 417 U.S. 535, 551 (1974)).
 20
            C. Defendants are not placing children in licensed facilities as
 21            expeditiously as possible.
 22         The Settlement requires that children be placed in a non-secure facility with a
 23   state license to care for dependent children within 72 hours or, in the case of an
 24   “emergency or influx,” “as expeditiously as possible.” Sept. 4 Order at 12;
 25   Settlement ¶¶ 6, 12.A, 19. Although “the COVID-19 pandemic presents an
 26   ‘emergency’ situation that could slow down the rate of placements,” the Court
 27

 28
                                                  14
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  1   correctly found that Defendants make no effort at all to transfer Title 42 children to
  2   licensed placements. Sept. 4 Order at 12-13.8
  3            Defendants never argued in their opposition to the motion to enforce why
  4   they should have any difficulty transferring children to licensed placements within
  5   three days.9 See Defs’ Opp. to Mot. to Enforce [Doc. # 925]. Although Defendants
  6   alluded in a footnote to potential “downstream consequences” of an order requiring
  7   licensed placement, they cited as support a CDC declaration from March 2020
  8   attesting that ORR “has adequate space within its facilities to isolate any UAC
  9   suspected of or confirmed to be infected with COVID-19” because it is “operating
 10   at approximately 30% capacity.” Defs’ Opp. at 19 n.8; Cohn Decl. ¶ 23. Given that
 11   ORR shelters were operating at 3% capacity as of August 22, 2020, with over
 12   10,000 vacant beds, the CDC’s declaration posits no obstacle whatsoever to
 13   licensed placement, but instead confirmed that Defendants could afford Title 42
 14   children they detain more than three days licensed placement as the Settlement and
 15   the TVPRA require. See Sept. 4 Order at 13.
 16
          V.      A STAY WOULD HARM HUNDREDS OF CHILDREN RELEGATED TO
 17               UNLICENSED AND UNMONITORED PLACEMENTS .
 18            Both the Independent Monitor’s reports and Plaintiffs’ evidence establish
 19   that children will suffer irreparably if DHS continues to detain them for days or
 20   weeks in unlicensed and unmonitored hotel rooms where they are denied basic
 21   protections the Settlement requires. See Sept. 4 Order at 12, 15-16; Settlement ¶¶
 22

 23   8
        Defendants’ assertion that the Court “ignor[ed]” paragraph 12 and disregarded its
      prior rulings providing additional time for transfer is plainly inconsistent with the
 24
      record. App. to Stay at 14-15; see Sept. 4 Order at 12-13. Further, the Court’s order
 25   is consistent with the requirements of both the Settlement and the TVPRA. 8 U.S.C.
      § 1232(b)(3).
 26   9
        For purposes of evaluating the application for stay, the Court need not consider
 27   any new evidence or arguments because they are not relevant to Defendants’
      likelihood of success on the merits. See Greisen v. Hanken, 925 F.3d 1097, 1115
 28
      (9th Cir. 2019); Lowry v. Barnhart, 329 F.3d 1019, 1024-26 (9th Cir. 2003).
                                                 15
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  1   12, 19, 32, Ex. 1 A.3-7. It is undisputed that unaccompanied children have been
  2   held in hotel rooms for 28 days, and Defendants’ corrected data submission
  3   indicates that accompanied children have been held in hotel rooms for up to 38
  4   days. See Supplemental Declaration of Mellissa Harper, Attachment A, at 7 (under
  5   seal) [Doc. # 972-1] (minors S.V. and A.P.V., both under 10 years of age, listed as
  6   detained at a hotel from 6/9/2020 to 7/17/2020); Sept. 4 Order at 3-4; Aug. Interim
  7   Report at 12. At least 33 unaccompanied children were held for over 10 days. See
  8   Aug. Interim Report at 12.
  9         Defendants do not contest that detention in hotels “does not meet a number
 10   of requirements of licensed programs under the Agreement, including providing an
 11   individualized needs assessment, education services, daily outdoor activity, and
 12   counseling sessions, among others.” Sept. 4 Order at 12; see also July Interim
 13   Report at 9 (“Children and families are not usually taken outside during their time
 14   in hotels.”). The Ninth Circuit has recognized the importance of access to outdoor
 15   recreation even for adults. See Thomas v. Ponder, 611 F.3d 1144, 1152 (9th Cir.
 16
      2010) (“For over thirty years, we have emphasized that ‘some form of regular
 17   outdoor exercise is extremely important to the psychological and physical well–
 18
      being of the inmates.’” (quoting Spain v. Procunier, 600 F.2d 189, 199 (9th Cir.
 19
      1979))). Children are even more vulnerable to psychological harm. See July
 20
      Interim Report at 18 (“[I]solating a child alone in a hotel room for 10-14 days can
 21
      have a more harmful emotional impact than that seen in adults.”).
 22
            Further, “Children as young as 10 are left alone with an adult who has no
 23
      qualifications or training in childcare,” “[t]here appear to be no separate standards
 24
      for how 10-year-olds are cared for compared to 17-year-olds,” and “oversight of the
 25
      hoteling program is vague and minimal.” Sept. 4 Order at 14. Children and
 26
      families detained in hotels are constantly surveilled by contracted “Transportation
 27
      Specialists” who, by Defendants’ own admission, have had a mere 16 hours of
 28
      training that is meant to cover 15 different topics ranging from “self-defense” and
                                                16
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  1   “child development” to “ethics and authority” and “bloodborne pathogens and
  2   respiratory viruses . . . .” Hott Decl. ¶ 12. Defendants describe these contractors as
  3   “specializing in the transportation and care of this vulnerable population” but it is
  4   evident from the statement of work Defendants cite to that MVM, Inc. is expected
  5   to provide transportation services not provide for the care and welfare of
  6   unaccompanied minor children in hotel rooms for weeks at a time. See Declaration
  7   of Mellissa Harper, September 17, 2020, ¶ 3 [Doc. # 985-1 at 23] (“Sept. 17 Harper
  8   Decl.”); id. at Att. A at 67 § 3.a.iii [Doc. # 985-1 at 35] (“In limited cases,
  9   overnight housing may be required.”).10
 10         The American Academy of Pediatrics has stated that Defendants’ practice of
 11   detaining children in hotels is “traumatizing” for vulnerable immigrant children.11
 12   Children have felt “confus[ed] and terrif[ied]” by their transfers between CBP
 13   processing centers and hotels, and in at least one instance, “the trauma [a] child
 14   endured as a trafficking victim was compounded by DHS’s treatment of the child
 15   and her placement in Title 42 proceedings.” Declaration of Karla Marisol Vargas,
 16
      August 13, 2020, ¶¶ 19-20 [Doc. # 920-2]. “Children are frequently moved from
 17   facility to facility without warning, and without being told their location,” “these
 18

 19
      10
         The statement of work cited by Defendants includes three small subparagraphs
 20
      related to “hotel rooms” and appears to contemplate only very short hotel stays.
 21   See Sept. 17 Harper Decl. Att. A at 68 § 3.c [Doc. # 985-1 at 36] (“If a UAC is
      temporarily housed at a hotel awaiting custody determination or placement, he or
 22
      she shall be allowed to take a change of clothing, personal hygiene items, and
 23   female sanitary products (as needed), in order to shower and dress for the following
      day, and subsequently, until departure from the hotel.”).
 24   11
         Sally Goza, AAP Statement on Media Reports of Immigrant Children Being
 25   Detained in Hotels, Am. Acad. Pediatrics, July 23, 2020,
      https://services.aap.org/en/news-room/news-releases/aap/2020/aap-statement-on-
 26
      media-reports-of-immigrant-children-being-detained-in-hotels/ (“This practice is
 27   traumatizing to children who have already endured so much, who are not old
      enough to have made their own decisions about how to arrive at our border, and
 28
      who cannot communicate their fears and needs.”).
                                                 17
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  1   frequent transfers, without notice or explanation, cause the children to feel scared
  2   and anxious,” and children report “feeling anxious and worried about seeing other
  3   children leaving the facilities and not knowing what happened to them.” Ex. 1,
  4   Declaration of Taylor Levy, August 20, 2020, ¶ 7 (“Levy Decl.”). According to
  5   one news report, J.B.B.C., a 16-year-old boy detained for weeks a hotel in El Paso,
  6   stated “I felt locked up. I felt alone and isolated . . . I didn’t know what time of day
  7   it was. I didn’t know what day it was. I felt utterly disconnected from society. I just
  8   felt anxiety and depression.”12 An unaccompanied 17-year-old girl, held for over
  9   15 nights at a hotel before she was transferred to a licensed ORR placement, told
 10   her attorney that she was “rarely allowed outside of her room,” lacked “any
 11   schooling or ability to attend religious services,” and felt “isolated and anxious
 12   while she was detained in a hotel room” by unknown adults who “watched her at all
 13   times.” Levy Decl. ¶ 9.
 14         Compounding the foregoing is that DHS holds children in hotels virtually
 15   incommunicado, denying them meaningful access to counsel in violation of
 16
      paragraph 32 of the Settlement.13 Children’s lawyers and families report having to
 17   overcome immense obstacles even to discover their whereabouts. Sept. 4 Order at
 18
      15-16 (citing Corchado Decl. ¶¶ 8, 11; Nagda Decl. ¶ 30; Odom Decl. ¶¶ 23, 27;
 19
      Vargas Decl. ¶ 22); see also Levy Decl. ¶ 8 (“Children’s relatives have told me that
 20
 21   12
         Hamed Aleaziz, “I Felt Alone”: The Story Of How An Immigrant Teenager
 22   Fought To Stay In The US While Under Guard In A Texas Hotel, BUZZFEED, July
      24, 2020, https://www.buzzfeednews.com/article/hamedaleaziz/immigrant-
 23   teenager-successfully-fights-to-stay-in-us.
 24
      13
         Per Defendants’ own contract, MVM, Inc. exercises unrestricted control over
      children and families’ access to counsel. See Sept. 17 Harper Decl., Att. A at 84
 25   [Dkt. 985-1 at 52] (“Legal Counsel 1. The Contractor may allow official legal
 26   counsel retained by any UAC or family member or a family into the Contractor
      office waiting area, provided they are not soliciting for business or causing a
 27   disruption. 2. The Contractor shall not permit legal counsel to attend face-to-face
 28   meetings between a UAC or family, while in transit.” (emphasis added)).
                                                 18
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  1   even when the child calls them, DHS officers/contractors stay on the line during the
  2   phone calls and often prevent the child from disclosing information that would
  3   indicate their current location.”); see also id. ¶ 9 (child was warned by officials that
  4   she would no longer be allowed to call her mother if she told her mother the name
  5   of the hotel where she was detained).
  6          Staying the enforcement order would cut off Plaintiffs’ counsel and the
  7   Independent Monitor’s ability to monitor the treatment and conditions children
  8   experience during Title 42 detention, leaving both to the unbridled discretion of
  9   DHS and its unlicensed MVM contractor.14 With little or no access to counsel,
 10   children have no ability to defend themselves. The few Title 42 children who have
 11   managed to secure the assistance of counsel, by contrast, have often succeeded in
 12   having DHS re-designate them as Title 8 detainees, whereupon they are promptly
 13   transferred to licensed facilities. See Sept. 4 Order at 7.
 14
           VI.   IMMEDIATE ENFORCEMENT OF THE SETTLEMENT SERVES THE PUBLIC
 15              INTEREST.
 16          In 2008, some six decades after last visiting 42 U.S.C. § 265, Congress
 17   incorporated into federal law the public’s interest in ensuring that children are
 18   housed in safe and appropriate facilities through the TVPRA. See 8 U.S.C. § 1232;
 19   see also Prince v. Massachusetts, 321 U.S. 158, 165 (1944) (emphasizing “the
 20   interests of society to protect the welfare of children”); Flores v. Sessions, 862 F.3d
 21   at 881 (“[T]he HSA and TVPRA were intended to address the unique vulnerability
 22   of minors who enter this country unaccompanied, and to improve the treatment of
 23   such children while in government custody.”). Permitting Defendants to
 24   circumvent the Settlement and the TVPRA is contrary to the public’s “interest in
 25   ensuring that statutes enacted by their representatives are not imperiled by
 26

 27   14
        Virtual inspections by independent contractors of Defendants’ choosing are not
      sufficient to meet the requirements of the Settlement. Compare App. to Stay at 4-5,
 28
      with Settlement ¶¶ 32A, 33.
                                                 19
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  1   executive fiat.” East Bay Sanctuary Covenant, 932 F.3d at 779 (internal citations
  2   and alterations omitted).
  3
           VII. CONCLUSION
  4
             For the foregoing reasons, Defendants’ application for a stay should be
  5
      denied.15
  6

  7
      Dated: September 18, 2020       CENTER FOR HUMAN RIGHTS AND
  8
                                      CONSTITUTIONAL LAW
  9                                   Carlos R. Holguín
 10
                                      NATIONAL CENTER FOR YOUTH LAW
 11                                   Leecia Welch
                                      Neha Desai
 12
                                      Poonam Juneja
 13                                   Freya Pitts
 14
                                      Melissa Adamson

 15

 16
                                      /s/ Carlos Holguín
                                      Carlos Holguín
 17                                   One of the Attorneys for Plaintiffs
 18

 19

 20
 21

 22

 23

 24

 25   15To the extent the Court is inclined to grant Defendants’ motion, it should stay no
 26   more than paragraphs 2 and 3 of the Order, such that monitoring of children held in
      hotels may proceed. Nothing in Defendants’ motion suggests they would suffer
 27   irreparably should monitoring proceed pending disposition of their instant appeal.
 28
                                               20
